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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: CHAPTER 7
CHARLES EDWARD ALLEN CASE NO. 24-00887-JAW

ORDER APPROVING TRUSTEE’S APPLICATION FOR ALLOWANCE
OF COMPENSATION AND REIMBURSEMENT OF NECESSARY
EXPENSES OF ATTORNEY FOR SPECIAL PURPOSE

THIS MATTER came on for the Court's consideration on the Trustee’s Application for
Allowance of Compensation and Reimbursement of Necessary Expenses of Attorney for Special Purpose
[Dkt.#___] filed on behalf of Begley Law Firm, PLLC. The Court, after notice and no objections
having been filed, does hereby find, as follows:

1, That the Court has jurisdiction over this proceeding and the parties herein.

IT IS HEREBY ORDERED AND ADJUDGED that the amount requested in the application
filed on behalf of Begley Law Firm, PLLC for legal services rendered in this matter in the amount of
$9,999.00, plus expenses in the amount of $196.00, for a total of $10,195.00, is approved and may be paid

from the available funds of the estate.

##END OF ORDER#H#

SUBMITTED BY:

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